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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

LVMH SWISS MANUFACTURES SA and
HUBLOT SA,

Plaintiffs,
v.

XIONGAI LONG, et al.,

Defendants.

 

 

Case No. 18-cv-06067
Judge Charles P. Kocoras

Magistrate Judge M. David Weisman

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [46], in

favor of Plaintiffs LVMH Swiss Manufactures SA (“Tag Heuer”) and Hublot SA (“Hublot”)

(together, “Plaintiffs”), and against the Defendants Identified in Schedule A in the amount of two

million dollars ($2,000,000) per Defaulting Defendant, and Plaintiffs acknowledge payment of

an agreed upon damages amount, costs, and interest and desire to release this judgment and

hereby fully and completely satisfy the same as to the following Defendants:

 

Defendant Name

Line No.

 

 

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201

 

 

 

THEREFORE, full and complete satisfaction of said judgment as to the above-referenced

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
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Dated this 4th day of April-2019.

Alte submitte

 

A Ziedl dler

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Counsel for Plaintiffs
LVMH Swiss Manufactures SA and Hublot SA

Subscribed and sworn to me by Allyson M. Martin, on this 4th day of April 2019.

Given under by hand and notarial seal.

ALYSSA GUYNN
Official Seal

Notary Public - State of Illinois
My Commission Expires Nov 16, 2022

 

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Notary Public

State of Illinois

County of Cook
